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 6
                               UNITED STATES DISTRICT COURT
 7                            WESTERN DISTRICT OF WASHINGTON
                                        AT SEATTLE
 8

 9   UNITED STATES OF AMERICA,                               NO. CR10-328-JCC

10                                   Plaintiff,

11          v.                                               DETENTION ORDER
12   FRANZIE F. COLACO,
13
                                     Defendant.
14

15   Offenses charged:
16          Count 1:         Conspiracy
17
            Counts 2-4       Wire Fraud
18
     Date of Detention Hearing: April 28, 2014.
19          The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and
20   based upon the factual findings and statement of reasons for detention hereafter set forth, finds
21   the following:
22
            FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION
23
            1.        Defendant is a Canadian citizen.
24
            2.        Defendant has substantial ties overseas.
25
            3.        Defendant has no ties to this jurisdiction.
26


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            4.      There are no conditions or combination of conditions other than detention that
 2
     will reasonably assure the appearance of defendant as required or ensure the safety of the
 3
     community.
 4
            IT IS THEREFORE ORDERED:
 5
            (1)     Defendant shall be detained and shall be committed to the custody of the
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                    Attorney General for confinement in a correction facility separate, to the extent
 7
                    practicable, from persons awaiting or serving sentences or being held in custody
 8
                    pending appeal;
 9
            (2)     Defendant shall be afforded reasonable opportunity for private consultation with
10
                    counsel;
11
            (3)     On order of a court of the United States or on request of an attorney for the
12
                    government, the person in charge of the corrections facility in which defendant
13
                    is confined shall deliver the defendant to a United States Marshal for the
14
                    purpose of an appearance in connection with a court proceeding; and
15
            (4)     The Clerk shall direct copies of this Order to counsel for the United States, to
16
                    counsel for the defendant, to the United States Marshal, and to the United States
17
                    Pretrial Services Officer.
18
                    DATED this 28th day of April, 2014.
19

20                                                AJAMES P. DONOHUE
21                                                 United States Magistrate Judge
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     DETENTION ORDER
     18 U.S.C. § 3142(i)
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